Case 1:11-cr-00142-MJT Document 171 Filed 07/02/12 Page 1 of 2 PageID #: 700


                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §    CRIMINAL NO. 1:11-CR-142(2)
                                             §    JUDGE THAD HEARTFIELD
JUAN CARLOS HINOJOSA                         §
a/k/a "Shorty"                               §

                             ELEMENTS OF THE OFFENSE

       You are charged in Count One of the indictment with a violation of 21 U.S.C. § 846

conspiracy to distribute and possess with the intent to distribute five (5) kilograms or more,

of a Schedule II controlled substance, namely, cocaine HCL.

       The essential elements which must be proven to establish the 21U.S.C. § 846 violation

are:
       1.     That two or more persons, directly or indirectly, reached an agreement to
              possess with intent to distribute cocaine HCL;

       2.     That the defendant knew of the unlawful purpose of the agreement;

       3.     That the defendant joined in the agreement willfully, that is, with the intent to
              further its unlawful purpose; and

       4.     That the overall scope of the conspiracy was to distribute cocaine HCL in an
              amount of five (5) kilograms or more.


                                           Respectfully submitted,
                                           JOHN M. BALES
                                           UNITED STATES ATTORNEY
                                           /s/ John A. Craft
                                           John A. Craft
                                           Assistant United States Attorney
                                           Florida Bar No. 0056332
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                                           409-839-2538
Case 1:11-cr-00142-MJT Document 171 Filed 07/02/12 Page 2 of 2 PageID #: 701




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was delivered by
electronic transmission to attorney for defendant, on this the 2nd day of July 2012.



                                                                  /s/ John A. Craft
                                                                  JOHN A. CRAFT
